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                                                IN THE UNITED STATES DISTRICT COURT FOR THE
                                                       WESTERN DISTRICT OF MICHIGAN
                                                            NORTHERN DIVISION

                       RICHARD J. HILL,
                                                                            U.S. District Judge:
                               Plaintiff,                                    Hon. Hala Y. Jarbou
                       v                                                    U.S. Magistrate Judge:
                       JUSTIN WONCH, and                                     Maarten Vermaat
                       TOWNSHIP OF FORSYTH,
                                                                            Case No: 2:19-cv-159
                               Defendants.
                                                                        /
                       Phillip B. Toutant (P72992)                          M. Sean Fosmire (P31737)
                       Karl P. Numinen (P46074)                             KITCH DRUTCHAS WAGNER
                       NUMINEN DEFORGE & TOUTANT, P.C.                       VALITUTTI & SHERBROOK
                       Attorneys for Plaintiff                              Attorneys for Defendants
                       105 Meeske Avenue                                    1440 W. Ridge Street, Ste. C
                       Marquette, MI 49855                                  Marquette, MI 49855-3199
                       (906) 226-2580                                       (906) 228-0001
                                                                        /

                                               RENEWED MOTION FOR SUMMARY JUDGMENT
                                               ON BEHALF OF DEFENDANT FORSYTH TOWNSHIP

                                       Preliminary Note - In ECF No. 12 filed 09/10/19 PageID.56, an
                                       order entered while this case was on the docket of Judge Janet
                                       Neff, the Court required a "pre-filing conference" before any
                                       dispositive motion is filed. We have attempted on two occasions to
                                       ask the court's scheduling personnel whether that requirement
                                       continues after transfer to the docket of Judge Jarbou and, if so, to
                                       schedule the conference. Court personnel have never responded.
                                       The notes of Susan MacGregor, who was previously handling this
                                       case on behalf of the defendants, say that the defendants' planned
                                       renewed motion on Monell issues has to be filed by three months
                                       before the trial date, that is, by January 25.

                               Defendant Forsyth Township, by its attorneys Kitch Drutchas Wagner Valitutti &

                       Sherbrook, renews its Motion for Summary Judgment on the Monell principle, under Rule 56 of

                       the Federal Rules of Civil Procedure. On the factual matters that form that basis of this Motion,

                       there is no genuine issue of material fact between the parties, and the Township is entitled to
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                       judgment in its favor as a matter of law. That ruling is and would be independent of factual

                       issues that remain as to the actions of defendant Wonch.

                              Both defendants previously filed a Motion for Summary Judgment dated October 2,

                       2020. [ECD 33, PageID.107] The Brief in support of the motion included [PgID.122] an argument

                       on behalf of defendant Township as to Count II, based on the Monell rule limiting liability of a

                       municipality under 42 USC 1983.

                              As this Court noted, the Township's Monell motion at that point was limited:

                                      Here, Defendants stake their motion for summary judgment on a
                                      simple premise: there is no valid failure-to-train claim where no
                                      constitutional violation has occurred, or where the right in
                                      question was not clearly established at the time of the alleged
                                      violation.

                              The Court, in its Opinion and Order dated March 10, 2021 [ECF 47, PageID.225], granted

                       defendant Wonch's motion as to several of the claims, but denied his motion as to the claims

                       relating to the use of "knee strikes." [PageID.231] As to the accompanying Monell motion by

                       Forsyth Township, that motion was denied, based only on the fact that the court had made its

                       ruling on knee strikes. [PageID.233] The Court stated that

                                      As explained above, there is a genuine dispute of material fact as
                                      to whether Officer Wonch violated a clearly established right
                                      when he used knee strikes against Hill while attempting to arrest
                                      him. Assuming Hill proves his case against Officer Wonch in this
                                      regard, then Forsyth could face Monell liability for the knee
                                      strikes.

                              The Court did not say that, if Hill proves his case against Wonch on this issue, the

                       Township would face Monell liability. There are still independent showings that the plaintiff

                       would be required to make in order to prove a claim under Monell. The Court now has
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                       sufficient information to determine that he will not be able to do so.
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                               The Township at that point did not argue, and the Court thus did not rule, on any Monell

                       claim as to the use of knee strikes that did not track the claim and ruling made as to Officer

                       Wonch. This renewed Motion does so.

                               Even though there remains a question of fact for resolution by the jury on the question

                       of whether defendant Wonch used excessive force while Hill was on the ground, after Hill was

                       tackled and brought to the ground, and before he was removed from the apartment and taken

                       outside, this does not automatically permit the imposition of liability on the Township. As the

                       Court is aware, the Township cannot be held vicariously liable for the actions of Wonch. Liability

                       of the Township, under the Monell rule, must be based on some direct action on its part – the

                       plaintiff must plead and provide that "execution of a government's policy or custom, whether

                       made by its lawmakers or by those whose edicts or acts may fairly be said to represent official

                       policy, inflicts the injury."

                               On November 4, 2021, after one delay occasioned by illness on the part of defense

                       counsel, and another Covid-related delay, the deposition of Brian Kjellin, Chief of Police for

                       Forsyth Township, was taken in Gwinn, Michigan. In that deposition, and in the exhibits that

                       were attached, it was established that the Forsyth Township Police Department, in August

                       2016, did in fact adopt a department policy governing the use of force by its officers. Thus,

                       there cannot be any Monell liability based on a failure to adopt such a policy.

                               The testimony of Chief Kjellin did not describe any facts on which a claim could be made

                       that the department permitted or condoned a knowing disregard of this adopted policy.
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                               Further, as had been previously disclosed by the Township in its answers to
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(906) 228-0001         interrogatories in July 2021, it was established that officer Wonch had undergone training on




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                       numerous occasions, including (most prominently for the purposes of this Motion) training at

                       the Police Academy at Northern Michigan University in 2017 on “Threat Pattern Recognition,” a

                       session that directly addresses situations involving the use of force.

                              Thus, under the undisputed facts now established, there can be no Monell claim made

                       based on either a failure to adopt policies, a failure to enforce policies, or a failure to train

                       Officer Wonch before the March 2019 incident here in question.

                              For these reasons, and as argued in the accompanying Brief, Forsyth Township requests

                       that it be granted summary judgment on all Monell issues.

                                                                              Respectfully submitted,

                                                                              KITCH DRUTCHAS WAGNER
                                                                              VALITUTTI & SHERBROOK


                       Dated: January 25, 2022                                By:      /s/ M. Sean Fosmire
                                                                                    M. Sean Fosmire




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